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IN THE UNITED STATE BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

IN RE: § CHAPTER 11 SUBCHAPTER V
§

FREE SPEECH SYSTEMS, LLC, § CASE NO. 22-60043
§

DEBTOR §

ORDER GRANTING RELIEF FROM STAY

Upon the motion of Security Bank of Texas, formerly Security Bank of Crawford
(“SBT”), hearing was held on the date set forth below, and after due consideration, it is

ORDERED that the stay provided for by Section 362(a) of Title 11, United States
Code, be and is hereby modified to permit SBT to accelerate maturity of a $114,074.00
note secured by a Texas Certificate of Title for a 2021 Winnebago Adventurer motor
home, VIN 1F66F5DN1L0A03038 (“Motor Home”), and that upon non-payment thereof,
to initiate any remedy available to SBT against the Motor Home securing the above
referenced note.

IT IS FURTHER ORDERED:

1. That the 14 day stay required under Rule 4001(a)(3) is waived and this Order
shall be effective immediately upon entry of this Order by the Court.

HH
